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                              UNITED. STATES DISTRJCT COURT
                                                                                        FILED
                              EASTERN DISTRJCT OF MISSOURI
                                  , EASTERN DIVISION
                                                                                     MAY -9 2019
                                                                                   U. S. DISTRICT COURT
                                                                                 EASTERN DISTRICT OF MO
 UNITED STATES OF AMERJCA,                           )                                    ST. LOUIS
                                                     )
               Plaintiff,                            )
                                                     ) '
 v.                                                  )
                                                     )     4:19CR356 ERW/NCC
 JEREMY K. DARLING                                   )
                                                     )·
              Defendant.                             )

                                          INDICTMENT

                                             COUNT I

        The Grand Jury charges that:

        On or about May 9, 2018, in Montgomery County, Missouri, within the EastemDistr!-ct of

Missouri,

                                    JEREMY K. DARLING,

the defendant herein, did knowingly and intentionally possess with the intent to distribute a mixture

or substance containing a ··detectable amount of methamphetamine, a Schedule II controlled

substance drug, in violation of Title 21, United States Code, Section 841(a)(l); and

       The ,amount of the -mixture or substance containing a detectible amount of

methamphetamine attributable to defendant by virtue of his own conduct is in excess offi~ (50)

grams, punishable under Title 21, United States Code, Section.841(b)(l)(B).




                                                 I
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                                                      COUNT II

                 The Grand Jury further charges that:

                 On or about May 9, 2018, in Montgomery County, Missouri, within the Eastern District of

         Missouri,

                                              JEREMY K. DARLING,

         the defendant herein, did knowingly and intentionally possess a firearm in furtherance of a drug

        · trafficking crime, to-wit: possession with intent to distribute a mixture or substance containing a

         detectable amount of actual methaniphetamine, · a Schedule II controlled substance drug, as

         described in Count I, in violation of 'I;itle 18, United States Code, Section 924 (c)(l)(A) and

         punishable under Title 18, United States Code, Section 924(c)(1 )(A)(i).

                                          FORFEITURE ALLEGATION

                 The Grand Jury further finds by probable cause that:

                 1.     Pursuant to Title 18, United States Code, Sections 853, upon conviction of an
                                     ('

         offense in violation of Title 21, United_,States Code, Section 841(a)(l), as set forth in Count I, the

         defendant shall forfeit to the United States of America any property constituting or derived from

         any proceeds obtained, directly or indirectly, as a result of the offense; and_ any property used, or

         intended to be used, in any manner or part, to coIIllilit, or to facilitate the commission of the

         offense.

                2.     ·Pursuant to Title 18, United States Code, Section 924(d)(l) and Title 28, United

         States Code, Section 2461(c), upon conviction of an offense of Title 18, United States Code,

         Section 924 (c) or Title 18, United States Code, Section 922(g)(l), as set forth in Count II, the

         defendants shall forfeit to the United States of America any firearm or ammunition involved in or




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     intended to be used in said violations. Specific property subject to forfeiture includes, but is not

     limited to, any firearms and ammunition seized by law enforcement.

            3.    ' Subject to forfeiture is a sum of money equal to the total value of any property, real

     or personal, constituting or derived from any proceeds traceable to offense set forth in Count II.

            4.      If any of the property described above, as a result of any act or omission of the

     defendant:

                    a.      cannot be located upon the exercise of due diligence;

                    b.      has been transferred or sold to, or deposite_d with, a third party;

                    c.      has been placed beyond the jurisdiction of the court;

                    d.      has been substantially diminished in value; or

                    e.      has been commingled with other property which cannot be divided without

                            difficulty,

     the United States of America will be entitled to the forfeiture of substitute property pursuant to

     Title 21, United States Code, Section 853(p).



                                                     A TRUE BILL.


                                                     FOREPERSON

     JEFFREY B. JENSEN
     United States Attorney


     BETH ()RWICK, #52089MO
     Assistant United States Attorney




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